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                       EXHIBIT D
                 NOTICE OF REMOVAL
            Disparti, Renee v. State Farm Mutual
              Automobile Insurance Company
                        March 7, 2017
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                                                                                                                          ²«´´ ñ ßÔÔ
                                                                                                      Ì®¿²-³·¬¬¿´ Ò«³¾»®æ ïëçêêíçï
 Ò±¬·½» ±º Í»®ª·½» ±º Ð®±½»--                                                                            Ü¿¬» Ð®±½»--»¼æ ïîñðçñîðïê

 Ð®·³¿®§ Ý±²¬¿½¬æ            Í¬¿¬» Ú¿®³ Û²¬»®°®·-» ÍÑÐ
                             Ý±®°±®¿¬·±² Í»®ª·½» Ý±³°¿²§ó É·´³·²¹¬±²ô ÜÛÔßÉßÎÛ
                             îéïï Ý»²¬»®ª·´´» Î±¿¼
                             É·´³·²¹¬±²ô ÜÛ ïçèðè

 Û²¬·¬§æ                                       Í¬¿¬» Ú¿®³ Ó«¬«¿´ ß«¬±³±¾·´» ×²-«®¿²½» Ý±³°¿²§
                                               Û²¬·¬§ ×Ü Ò«³¾»® íìêïêéë
 Û²¬·¬§ Í»®ª»¼æ                                Í¬¿¬» Ú¿®³ Ó«¬«¿´ ß«¬±³±¾·´» ×²-«®¿²½» Ý±³°¿²§
 Ì·¬´» ±º ß½¬·±²æ                              Î»²»» Ü·-°¿®¬· ª-ò Í¬¿¬» Ú¿®³ Ó«¬«¿´ ß«¬±³±¾·´» ×²-«®¿²½» Ý±³°¿²§
 Ü±½«³»²¬ø-÷ Ì§°»æ                             Í«³³±²-ñÝ±³°´¿·²¬
 Ò¿¬«®» ±º ß½¬·±²æ                             Ý±²¬®¿½¬
 Ý±«®¬ñß¹»²½§æ                                 Ð¿-½± Ý±«²¬§ Ý·®½«·¬ Ý±«®¬ô Ú´±®·¼¿
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 Ö«®·-¼·½¬·±² Í»®ª»¼æ                          Ú´±®·¼¿
 Ü¿¬» Í»®ª»¼ ±² ÝÍÝæ                           ïîñðçñîðïê
 ß²-©»® ±® ß°°»¿®¿²½» Ü«»æ                     îð Ü¿§-
 Ñ®·¹·²¿´´§ Í»®ª»¼ Ñ²æ                         ÚÔ Ü»°¬ ±º Ú·²¿²½·¿´ Í»®ª·½»- ±² ïîñðéñîðïê
 Ø±© Í»®ª»¼æ                                   Û´»½¬®±²·½ ÍÑÐ
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 ½±²-¬·¬«¬» ¿ ´»¹¿´ ±°·²·±²ò Ì¸» ®»½·°·»²¬ ·- ®»-°±²-·¾´» º±® ·²¬»®°®»¬·²¹ ¬¸» ¼±½«³»²¬- ¿²¼ ¬¿µ·²¹ ¿°°®±°®·¿¬» ¿½¬·±²ò

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                         îéïï Ý»²¬»®ª·´´» Î±¿¼ É·´³·²¹¬±²ô ÜÛ ïçèðè øèèè÷ êçðóîèèî ¤ -±°à½-½¹´±¾¿´ò½±³
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                 ×Ò ÌØÛ Ý×ÎÝË×Ì ÝÑËÎÌ ÑÚ ÌØÛ Í×ÈÌØ ÖËÜ×Ý×ßÔ Ý×ÎÝË×Ì
                     ×Ò ßÒÜ ÚÑÎ ÐßÍÝÑ ÝÑËÒÌÇô ÍÌßÌÛ ÑÚ ÚÔÑÎ×Üß
                                   Ý×Ê×Ô Ü×Ê×Í×ÑÒ
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  ÍÌßÌÛ ÚßÎÓ ÓËÌËßÔ ßËÌÑÓÑÞ×ÔÛ
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                       DEFENDANT'S NOTICE OF APPEARANCE
                  AND DESIGNATION OF ELECTRONIC MAIL ADDRESS
        ×ô Õ¿®»² ßò Þ¿®²»¬¬ô Û-¯«·®» ±º Í³±¿µô Ý¸·-¬±´·²· ú Þ¿®²»¬¬ô ÐÔÔÝô ¸»®»¾§ º·´» ¬¸·-

 Ò±¬·½» ±º ß°°»¿®¿²½» ¿- ½±«²-»´ ±² ¾»¸¿´º ±º ¬¸» Ü»º»²¼¿²¬ô STATE FARM MUTUAL

 AUTOMOBILE INSURANCE COMPANYô ¿²¼ ®»¯«»-¬ ¬¸¿¬ ¬¸» °¿®¬·»- ·² ¬¸» ¿¾±ª»ó-¬§´»¼

 ½¿«-» ±º ¿½¬·±² ¸»®»¿º¬»® ¼·®»½¬ ½±°·»- ±º ¿´´ °´»¿¼·²¹- ¬± -¿·¼ ½±«²-»´ò

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 ¼»-·¹²¿¬»- ¬¸» º±´´±©·²¹ »´»½¬®±²·½ ³¿·´ ¿¼¼®»-- º±® ¬¸» ¿¾±ª» -¬§´»¼ ³¿¬¬»®æ

        Ð®·³¿®§ »´»½¬®±²·½ ³¿·´ ¿¼¼®»--æ               courtdocuments@flatrialcounsel.com
                                  CERTIFICATE OF SERVICE
        I HEREBY CERTIFY ¬¸¿¬ ¿ ¬®«» ¿²¼ ½±®®»½¬ ½±°§ ±º ¬¸» º±®»¹±·²¹ ¸¿- ¾»»² º«®²·-¸»¼

 ª·¿ ÛóÓ¿·´ ¬¸·- îé¬¸ ¼¿§ ±º Ü»½»³¾»®ô îðïêô ¬± ¬¸» º±´´±©·²¹æ Randy S. West, Esquireô Ì¸»

 Ò«®-» Ô¿©§»®ô Ðòßòô -»®ª·½»à¬¸»²«®-»´¿©§»®ò½±³ò




                                                       KAREN A. BARNETT
                                                       Ú´±®·¼¿ Þ¿® Ò±òæ íçðêéì
                                                       Smoak, Chistolini & Barnett, PLLC
                                                       íîð Éò Õ»²²»¼§ Þ´ª¼òô ì¬¸ Ú´±±®
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                                                       ½±«®¬¼±½«³»²¬-àº´¿¬®·¿´½±«²-»´ò½±³
                                                       Counsel for Defendant
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                ×Ò ÌØÛ Ý×ÎÝË×Ì ÝÑËÎÌ ÑÚ ÌØÛ Í×ÈÌØ ÖËÜ×Ý×ßÔ Ý×ÎÝË×Ì
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                                  Ý×Ê×Ô Ü×Ê×Í×ÑÒ

  ÎÛÒÛÛ Ü×ÍÐßÎÌ×ô
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         Ð´¿·²¬·ººô

  ªò

  ÍÌßÌÛ ÚßÎÓ ÓËÌËßÔ ßËÌÑÓÑÞ×ÔÛ
  ×ÒÍËÎßÒÝÛ ÝÑÓÐßÒÇô

        Ü»º»²¼¿²¬ò
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        Ü»º»²¼¿²¬ô STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY,

 ¾§ ¿²¼ ¬¸®±«¹¸ ·¬- «²¼»®-·¹²»¼ ¿¬¬±®²»§ô ¸»®»¾§ º·´»- ¬¸·- ß²-©»® ¿²¼ ßºº·®³¿¬·ª» Ü»º»²-»- ¬±

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        îò

        íò      ß¼³·¬¬»¼ò

        ìò      ß¼³·¬¬»¼ò

        ëò      Ü»²·»¼ ¬¸¿¬ Õ»²²»¬¸ Þ®±©² ©¿- «²¼»®·²-«®»¼ò Ì¸» ®»³¿·²¼»® ±º °¿®¿¹®¿°¸ º·ª»

                ·- ¿¼³·¬¬»¼ò

        êò      Ü»º»²¼¿²¬ ¸¿- ²± °»®-±²¿´ º·®-¬¸¿²¼ µ²±©´»¼¹» ±º ¬¸»-» ¿´´»¹¿¬·±²- ¿²¼

                ¿½½±®¼·²¹´§ -¿³» ¿®» ¼»²·»¼ ¿¬ ¬¸·- ¬·³»ò

        éò      Ü»º»²¼¿²¬ ¸¿- ²± °»®-±²¿´ º·®-¬¸¿²¼ µ²±©´»¼¹» ±º ¬¸»-» ¿´´»¹¿¬·±²- ¿²¼

                ¿½½±®¼·²¹´§ -¿³» ¿®» ¼»²·»¼ ¿¬ ¬¸·- ¬·³»ò

        èò      Ü»²·»¼ò
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        çò      Ü»º»²¼¿²¬ ®»¿´´»¹»- ¿²¼ ·²½±®°±®¿¬»- ¾§ ®»º»®»²½» ¸»®»·² ·¬- ®»-°±²-» ¬±

                °¿®¿¹®¿°¸- ±²» ¬¸®±«¹¸ »·¹¸¬ ¿- -»¬ º±®¬¸ ¿¾±ª»ò

        ïðò     ß¼³·¬¬»¼ò

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                ¿²¼ ¿½½±®¼·²¹´§ -¿³» ¿®» ¼»²·»¼ ¿¬ ¬¸·- ¬·³»ò

        ïîò     Ü»º»²¼¿²¬ ¸¿- ²± °»®-±²¿´ º·®-¬¸¿²¼ µ²±©´»¼¹» ½±²½»®²·²¹ ¬¸»-» ¿´´»¹¿¬·±²- ¿²¼

                ¿½½±®¼·²¹´§ -¿³» ¿®» ¼»²·»¼ ¿¬ ¬¸·- ¬·³»ò

        ïíò     Ü»²·»¼ò

        ïìò     ß¼³·¬¬»¼ò

        ïëò     Ü»²·»¼ò

        ïêò     ß¼³·¬¬»¼ò

        ïéò     ß¼³·¬¬»¼ò

        ïèò     ß¼³·¬¬»¼    ¬¸¿¬   Î»²»»    Ü·-°¿®¬·   ©¿-      ¿²   ·²-«®»¼   °»®-±²   ¿²¼    ¬¸¿¬

                «²·²-«®»¼ñ«²¼»®·²-«®»¼ ³±¬±®·-¬ ¾»²»º·¬- ¿®» ¿ª¿·´¿¾´»ò Ü»²·»¼ ¬¸¿¬ ¬¸» ª¿´«» ±º

                ¬¸·- ½´¿·³ »¨½»»¼- ¬¸» üîëðôððð °±´·½§ ´·³·¬- ¿ª¿·´¿¾´» ¬± ¬¸» ¬±®¬º»¿-±®ñ³±¬±®·-¬ô

                Õ»²²»¬¸ Þ®±©²ò

                              FIRST AFFIRMATIVE DEFENSE

        Ì¸¿¬ Ü»º»²¼¿²¬ ·- »²¬·¬´»¼ ¬± ¿ -»¬±ºº ±º ¿´´ ³±²·»- °¿·¼ ±® °¿§¿¾´» ¾§ ±¬¸»® °¿®¬·»-

 ®»-°±²-·¾´» º±® ¬¸» ¿½½·¼»²¬- ¿´´»¹»¼ ·² Ð´¿·²¬·ººù- Ý±³°´¿·²¬ ¿²¼ ¿²§ °¿§³»²¬- °¿·¼ ±® °¿§¿¾´»

                                                                               Õ»²²»¬¸ Þ®±©² ¿²¼

 ¸·- ·²-«®¿²½» ½¿®®·»®ò

                             SECOND AFFIRMATIVE DEFENSE

        Ü»º»²¼¿²¬ ·- »²¬·¬´»¼ ¬± ¿ -»¬±ºº º±® ¿´´ -«³- ±º ³±²»§ ®»½±ª»®»¼ ¾§ ±® ±² ¾»¸¿´º ±º ¬¸»
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 Ð´¿·²¬·ººô ¾§ ©¿§ ±º ¿²§ -»¬¬´»³»²¬ô ¶«¼¹³»²¬ ±® ±¬¸»®©·-» ©¸·½¸ ©¿- »²¬»®»¼ ·²¬± ±® ®»½»·ª»¼ ¾§

 ¬¸» Ð´¿·²¬·ºº º®±³ ¿²§ °¿®¬§ ±® ²±²°¿®¬§ ¬± ¬¸·- ¿½½·¼»²¬ò

                                  THIRD AFFIRMATIVE DEFENSE

                                                                     ª»® ¿²¼ ¿¾±ª»ô ¿²¼ ²±¬ ¬± ¾» ·²

 ¼«°´·½¿¬·±² ±ºæ ¾»²»º·¬- ¿ª¿·´¿¾´» ¬± Ð´¿·²¬·ºº

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 »¨°»²-» ½±ª»®¿¹»å «²¼»® ¿²§ ³±¬±® ª»¸·½´» ´·¿¾·´·¬§ ·²-«®¿²½» ½±ª»®¿¹»å ±® º®±³ ¬¸» ±©²»® ±®

 ±°»®¿¬±® ±º ¬¸» ¿´´»¹»¼´§ «²·²-«®»¼ ³±¬±® ª»¸·½´» ±® ¿²§ ±¬¸»® °»®-±²¿´ ±®¹¿²·¦¿¬·±² ¶±·²¬´§ ±®

 -»ª»®¿´´§ ´·¿¾´» ¬±¹»¬¸»® ©·¬¸ -«½¸ ±©²»® ±® ±°»®¿¬±® º±® ¬¸» ¿½½·¼»²¬å ¿²¼ -«½¸ ½±ª»®¿¹» -¸¿´´

 ½±ª»® ¬¸» ¼·ºº»®»²½»ô ·º ¿²§ô ¾»¬©»»² ¬¸» -«³- ±º -«½¸ ¾»²»º·¬- ¿²¼ ¬¸» ¼¿³¿¹»-ô ·º ¿²§ô -«-¬¿·²»¼

 ¾§ Ð´¿·²¬·ºº

 °±´·½§ò

                               FOURTH AFFIRMATIVE DEFENSE

           Ð´¿·²¬·ºº ¸¿¼ ¿ ¼«¬§ ¬± ³·¬·¹¿¬» ¼¿³¿¹»- ·² ¬¸·- ³¿¬¬»®ô ¿²¼ ½¿®»´»--´§ ¿²¼ ²»¹´·¹»²¬´§

 º¿·´»¼ ¬± ¼± -±ô ¿²¼ ¬¸» Ü»º»²¼¿²¬ ·- ²±¬ ®»-°±²-·¾´» º±® ¿²§ ¼¿³¿¹»- ¬¸¿¬ ®»¿-±²¿¾´§ ½±«´¼ ¸¿ª»

 ¾»»² ¿ª±·¼»¼ ¾§ ¬¸» Ð´¿·²¬·ººò

                                  FIFTH AFFIRMATIVE DEFENSE

           Ì± ¬¸» »¨¬»²¬ Ð´¿·²¬·ºº ·- ·²-«®»¼ ©·¬¸ ¸»¿´¬¸ ·²-«®¿²½» ½±ª»®¿¹»ô ¿²¼ ¬± ¬¸» »¨¬»²¬ ¬¸¿¬

 ¿²§ ±º Ð´¿·²¬·ººù- ³»¼·½¿´ °®±ª·¼»®- ³¿·²¬¿·²»¼ ½±²¬®¿½¬- ©·¬¸ Ð´¿·²¬·ººù- ¸»¿´¬¸ ·²-«®¿²½» ½¿®®·»®ô

 Ð´¿·²¬·ººù- °®±ª·¼»®- ³«-¬ -«¾³·¬ ¿´´ ¾·´´- º±® -»®ª·½»- ®»²¼»®»¼ ¬± Ð´¿·²¬·ººù- ¸»¿´¬¸ ·²-«®»®ô ¿²¼

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 -«½¸ ¬¸¿¬ Ð´¿·²¬·ºº ¼±»- ²±¬ ±©» ¬¸±-» ³±²·»- ¬± Ð´¿·²¬·ººù- ³»¼·½¿´ °®±ª·¼»®ô ¬¸»² ¬¸±-» ·¬»³- ±º

 ¼¿³¿¹»- ¼± ²±¬ »¨·-¬ ¿²¼ ½¿²²±¬ ¾» ®»½±ª»®»¼ º®±³ ¬¸·- Ü»º»²¼¿²¬ò

                                SIXTH AFFIRMATIVE DEFENSE

        Ü»º»²¼¿²¬ ·- »²¬·¬´»¼ ¬± ¿²§ ¿²¼ ¿´´ ¸»¿´¬¸ ·²-«®¿²½» ½±²¬®¿½¬«¿´ ¿¼¶«-¬³»²¬-ò

                             SEVENTH AFFIRMATIVE DEFENSE

        Ü»º»²¼¿²¬ ·- ²±¬ ®»-°±²-·¾´» º±® ¬¸» °¿§³»²¬ ±º ³»¼·½¿´ »¨°»²-»- ·²½«®®»¼ ¾§ Ð´¿·²¬·ºº

 ©¸·½¸ -¸±«´¼ ¸¿ª» ¾»»² -«¾³·¬¬»¼ ¬± Ð´¿·²¬·ººù- °»®-±²¿´ ·²¶«®§ °®±¬»½¬·±² ½¿®®·»® °«®-«¿²¬ ¬±

 yêîéòéíê ±º ¬¸» Ú´±®·¼¿ Í¬¿¬«¬»-ò Ì± ¬¸» »¨¬»²¬ ¬¸¿¬ ¿²§ ±º Ð´¿·²¬·ººù- ³»¼·½¿´ »¨°»²-»- -¸±«´¼

 ¸¿ª» ¾»»² -«¾³·¬¬»¼ °«®-«¿²¬ ¬± ¬¸·- -¬¿¬«¬»ô ²»·¬¸»® Ð´¿·²¬·ºº ²±® Ü»º»²¼¿²¬ ¿®» ®»-°±²-·¾´» º±®

 °¿§³»²¬ ±º -¿³» ¿²¼ ¿½½±®¼·²¹´§ ¬¸»-» »¨°»²-»- -¸±«´¼ ²±¬ ¾» °®»-»²¬»¼ ¿- ´»¹·¬·³¿¬» ³»¼·½¿´

 »¨°»²-»- ¬± ¬¸» ¶«®§ ·² ¬¸·- ½¿«-»ò

                               EIGHTH AFFIRMATIVE DEFENSE

        Ì± ¬¸» »¨¬»²¬ ¬¸¿¬ Ð´¿·²¬·ººù- ¬®»¿¬·²¹ ¼±½¬±®- ±® ¬®»¿¬·²¹ »¨°»®¬- ¸¿ª» ¾·´´»¼ º±® ¬¸»·®

 -»®ª·½»- ·² ª·±´¿¬·±² ±º yêîéòéíêøë÷ø¾÷ ±º ¬¸» Ú´±®·¼¿ Í¬¿¬«¬»-ô ¬¸·- Ü»º»²¼¿²¬ ·- ´·¿¾´» ±²´§ ¬± ¬¸»

 »¨¬»²¬ ¬¸¿¬ ¬¸» Ð×Ð ½¿®®·»® ©±«´¼ ¾» ®»-°±²-·¾´» º±® ®»¿-±²¿¾´» ¿²¼ ²»½»--¿®§ ½¸¿®¹»- º±® ³»¼·½¿´

 ½¿®» ·²½«®®»¼ ¿- ¿ ®»-«´¬ ±º ¬¸» ·²¶«®§ -«-¬¿·²»¼ ·² ¬¸» ¿½½·¼»²¬ ¿¬ ·--«»ô »¨½´«¼·²¹ ¿²§ «°½±¼·²¹

 ½¸¿®¹»- ±® ±¬¸»® ½¸¿®¹»- -«¾³·¬¬»¼ ²±¬ ±¬¸»®©·-» °¿§¿¾´» «²¼»® ¬¸» °»®-±²¿´ ·²¶«®§ °®±¬»½¬·±²

 ½±ª»®¿¹»- ¿²¼ yêîéòéíê ±º ¬¸» Ú´±®·¼¿ Í¬¿¬«¬»-ò

                               NINTH AFFIRMATIVE DEFENSE

        Ü»º»²¼¿²¬ ¿´´»¹»- ¬¸¿¬ Ð´¿·²¬·ºº ¸¿- ®»½»·ª»¼ ½±´´¿¬»®¿´ -±«®½» °¿§³»²¬- ¿²¼ ¬¸¿¬ ¬¸»·®

 ¼¿³¿¹»-ô ·º ¿²§ô -¸±«´¼ ¾» ®»¼«½»¼ ¾§ ¬¸» ¿³±«²¬ ±º -«½¸ ½±´´¿¬»®¿´ -±«®½» °¿§³»²¬- ³¿¼» ¿²¼

 ¾§ ¬¸» ¿³±«²¬ ±º ¿²§ ½±´´¿¬»®¿´ -±«®½» °¿§³»²¬- ¿ª¿·´¿¾´» ¬± Ð´¿·²¬·ºº ¿- ¿ ®»-«´¬ ±º ¬¸» ¿½½·¼»²¬

 ·² ¯«»-¬·±²ò
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                              TENTH AFFIRMATIVE DEFENSE

        Ü»º»²¼¿²¬ ·- »²¬·¬´»¼ ¬± ¸¿ª» ¿²§ ª»®¼·½¬ ·² ¬¸·- ½¿-» ®»¼«½»¼ ¬± ¿ ¶«¼¹³»²¬ ²±¬ ¬± »¨½»»¼

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                                 DEMAND FOR JURY TRIAL

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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY ¬¸¿¬ ¿ ¬®«» ¿²¼ ½±®®»½¬ ½±°§ ±º ¬¸» º±®»¹±·²¹ ¸¿- ¾»»² º«®²·-¸»¼

 ª·¿ ÛóÓ¿·´ ¬¸·- ïí¬¸ ¼¿§ ±º Ö¿²«¿®§ô îðïéô ¬± ¬¸» º±´´±©·²¹æ Randy S. West, Esquireô Ì¸» Ò«®-»

 Ô¿©§»®ô Ðòßòô -»®ª·½»à¬¸»²«®-»´¿©§»®ò½±³ò




                                                      ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                                                      KAREN A. BARNETT
                                                      Ú´±®·¼¿ Þ¿® Ò±òæ íçðêéì
                                                      Smoak, Chistolini & Barnett, PLLC
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                                                      Counsel for Defendant
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 17 of 107 PageID 48



                    IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                           IN AND FOR PASCO COUNTY, FLORIDA
                                      CIVIL DIVISION

  Renee Disparti,
       Plaintiff,
                                               Case No.:     16-CA-003768
  v.                                           Division:


  State Farm Mutual Automobile Insurance
  Company,
         Defendant.
  ________________________________/

                                  ANSWER TO AFFIRMATIVE DEFENSES

       Plaintiff, Renee Disparti, by and through the undersigned attorney, denies and

 moves to strike for lack of specificity, each and every Affirmative Defense served by

 Defendant, State Farm Mutual Automobile Insurance Company, with a certificate of

 service dated January 13, 2017.

                                   Certificate of Service

         I hereby certify that on January 17, 2017, a true and correct copy of the above
                                                                              -Filing Portal
 System in compliance with Rule 2.516, which will send notification of such filing and
 copies to: Karen A. Barnett, Esquire, Smoak, Shistolini & Barnett, PLLC, 320 W. Kennedy
 Blvd., 4th Floor, Tampa, FL 33606, courtdocuments@flatrialcounsel.com.




                                                  Maryann Furman, RN, Esq.
                                                  Florida Bar No.: 0026535
                                                  The Nurse Lawyer P.A.
                                                  201 US 19 Alternate
                                                  Palm Harbor, FL 34683
                                                  Phone:(727) 807-6182
                                                  Fax:(727) 848-6182
                                                  Service Email:
                                                  service@thenurselawyer.com
                                                  Attorney for Plaintiff
Ú·´·²¹ ý Case 8:17-cv-00557-RAL-JSS
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                         IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                IN AND FOR PASCO COUNTY, FLORIDA
                                           CIVIL DIVISION


          Renee Disparti,

                 Plaintiff,
          v.                                            Case No.:     16-CA-003768

          State Farm Mutual Automobile
          Insurance Company,

                 Defendant.


                       NOTICE THAT CASE IS AT ISSUE AND MOTION TO SET TRIAL

               Comes now the plaintiff, Renee Disparti, by and through the undersigned

         counsel, pursuant to Fla. R. Civ. P. 1.440, and states as follows:

               1.      That this action is at issue and ready to be set for trial by jury.

               2.      It is estimated that the trial will require 4-5 days.

               3.      The jury trial is requested on the original action.

               4.      Plaintiff has discussed this matter with opposing counsel and has

                       been unable to reach an agreement concerning the setting of the

                       case for trial.

               Wherefore, Plaintiff, Renee Disparti, respectfully requests this Honorable

         Court set this case for pre-trial and trial on this Court’s docket and moves the

         Court for entry of an Order setting this cause for trial by jury.

                                           Certificate of Service

               I hereby certify that on February 16, 2017, a true and correct copy of the

         above and foregoing has been electronically filed using the Florida Court’s E-

         Filing Portal System in compliance with Rule 2.516, which will send notification of

         such filing and copies to: Karen A. Barnett, Esquire, Smoak, Shistolini & Barnett,
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 19 of 107 PageID 50



 PLLC,   320   W.   Kennedy     Blvd.,   4th   Floor,   Tampa,   FL     33606,

 courtdocuments@flatrialcounsel.com.




                                           Maryann Furman, RN, Esq.
                                           Florida Bar No.: 0026535
                                           The Nurse Lawyer P.A.
                                           201 US 19 Alternate
                                           Palm Harbor, FL 34683
                                           Phone:(727) 807-6182
                                           Fax:(727) 848-6182
                                           Service Email:
                                           service@thenurselawyer.com
                                           Attorney for Plaintiff
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 20 of 107 PageID 51



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           NOTICE THAT CASE IS AT ISSUE AND MOTION TO SET TRIAL

        Ü»º»²¼¿²¬ô STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANYô

 ¾§ ¿²¼ ¬¸®±«¹¸ ·¬- «²¼»®-·¹²»¼ ¿¬¬±®²»§ô                                       ¬¸¿¬ Ý¿-» ·- ¿¬ ×--«»

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Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 21 of 107 PageID 52



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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY ¬¸¿¬ ¿ ¬®«» ¿²¼ ½±®®»½¬ ½±°§ ±º ¬¸» º±®»¹±·²¹ ¸¿- ¾»»² º«®²·-¸»¼

 ª·¿ ÛóÓ¿·´ ¬¸·- ïé¬¸ ¼¿§ ±º Ú»¾®«¿®§ô îðïéô ¬± ¬¸» º±´´±©·²¹æ Randy S. West, Esquireô Ì¸»

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                                                     ÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁÁ
                                                     KAREN A. BARNETT
                                                     Ú´±®·¼¿ Þ¿® Ò±òæ íçðêéì
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                                                     Counsel for Defendant
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 22 of 107 PageID 53




                        EXHIBIT A
                           OBJECTION TO
         PLAINTIFF S NOTICE THAT CASE IS
        AT ISSUE AND MOTION TO SET TRIAL
                    Pasco County
                Case No. 16-CA-003768
              DISPARTI V. STATE FARM
                  February 17, 2017
       Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 23 of 107 PageID 54


Cynthia Chartak

From:                                   Cynthia Chartak
Sent:                                   Wednesday, February 15, 2017 9:57 AM
To:                                     'Taylor'
Subject:                                RE: Renee Disparti v State Farm Mutual Automobile Insurance Company


Good morning Taylor,

Just following up with you regarding setting the deposition of Renee Disparti on April 3rd. Let me know, thank
you!


Thank you,
Cynthia

Cynthia Chartak, Paralegal to
Karen Barnett and Dawn Myers
Smoak, Chistolini & Barnett, PLLC
320 West Kennedy Boulevard
4th Floor
Tampa, Florida 33606
(813) 221-1331 (T)
(813) 223-7881 (F)
E-mail: cchartak@flatrialcounsel.com
Website: www.flatrialcounsel.com




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as to this communication or otherwise. If you have received this communication in error, please contact us immediately by return e-mail
at administrator@flatrialcounsel.com or by telephone at (813) 221-1331. Thank you.


From: Taylor [mailto:Taylor@thenurselawyer.com]
Sent: Tuesday, February 07, 2017 10:18 AM
To: Cynthia Chartak <cchartak@flatrialcounsel.com>
Subject: RE: Renee Disparti v State Farm Mutual Automobile Insurance Company

I will put a hold on the calendar and reach out to my client to clear the date.

Thank you,

*Please Note Our New Main Office Address*

The Nurse Lawyer
Taylor Marie

                                                                     1
       Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 24 of 107 PageID 55
201 Alternate 19 S
Palm Harbor, FL 34683
727-807-6182-Phone
727-848-6182-Fax

From: Cynthia Chartak [mailto:cchartak@flatrialcounsel.com]
Sent: Tuesday, February 7, 2017 10:0 AM
To: Taylor <Taylor@thenurselawyer.com>
Subject: RE: Renee Disparti v State Farm Mutual Automobile Insurance Company

We can do the afternoon of April 3rd.



Thank you,
Cynthia

Cynthia Chartak, Paralegal to
Karen Barnett and Dawn Myers
Smoak, Chistolini & Barnett, PLLC
320 West Kennedy Boulevard
4th Floor
Tampa, Florida 33606
(813) 221-1331 (T)
(813) 223-7881 (F)
E-mail: cchartak@flatrialcounsel.com
Website: www.flatrialcounsel.com




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as to this communication or otherwise. If you have received this communication in error, please contact us immediately by return e-mail
at administrator@flatrialcounsel.com or by telephone at (813) 221-1331. Thank you.


From: Taylor [mailto:Taylor@thenurselawyer.com]
Sent: Tuesday, February 07, 2017 : AM
To: Cynthia Chartak <cchartak@flatrialcounsel.com>
Subject: RE: Renee Disparti v State Farm Mutual Automobile Insurance Company

 ood Mornin ,
                                   rd        th
       I can offer you April            or        for the deposition of our client.

Thank you,

*Please Note Our New Main Office Address*

The Nurse Lawyer
Taylor Marie
       Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 25 of 107 PageID 56
201 Alternate 19 S
Palm Harbor, FL 34683
727-807-6182-Phone
727-848-6182-Fax

From: Cynthia Chartak [mailto:cchartak@flatrialcounsel.com]
Sent: Monday, February , 2017 10:1 AM
To: Taylor <Taylor@thenurselawyer.com>
Subject: RE: Renee Disparti v State Farm Mutual Automobile Insurance Company

Good morning,

As requested, below are some additional dates for the deposition of your client, Renee Disparti:

February 21, anytime
February 23, anytime
March 6, pm only (trial caveat)
March 7, anytime (trial caveat)
March 8, anytime (trial caveat)
March 9, anytime (trial caveat)
March 13, pm only
March 14, anytime

As for your request for mediation and trial, please be advised that my attorney will not agree to a mediation or
trial date until she has had the chance to depose the Plaintiff and get a better idea of what kind of discovery has
to be completed. If your attorney is willing to wait until after the deposition, my attorney will be more than
willing to consider dates at that time.

Thank you!!

Thank you,
Cynthia

Cynthia Chartak, Paralegal to
Karen Barnett and Dawn Myers
Smoak, Chistolini & Barnett, PLLC
320 West Kennedy Boulevard
4th Floor
Tampa, Florida 33606
(813) 221-1331 (T)
(813) 223-7881 (F)
E-mail: cchartak@flatrialcounsel.com
Website: www.flatrialcounsel.com




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at administrator@flatrialcounsel.com or by telephone at (813) 221-1331. Thank you.
      Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 26 of 107 PageID 57

From: Taylor [mailto:Taylor@thenurselawyer.com]
Sent: Thursday, February 02, 2017 12: 0 M
To: Cynthia Chartak <cchartak@flatrialcounsel.com>
Subject: Renee Disparti v State Farm Mutual Automobile Insurance Company

 ood Mornin ,
           e received the letter from your office re ardin settin our clients deposition. lease provide me with
additional dates as the ones listed are not available.

Also, please provide me with a list of your preferred mediators so I may clear a date on their calendar to hold mediation.

astly, we would like to know if you will a ree to stip to a trial date. ud e Mansfield has the followin dates available:
September 18th 2 week docket
 ovember 1 th 1 week
December th 1 week

 lease let me know which date times work best for you.


Thank you,

*Please Note Our New Main Office Address*

The Nurse Lawyer
Taylor Marie
201 Alternate 19 S
Palm Harbor, FL 34683
727-807-6182-Phone
727-848-6182-Fax
  Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 27 of 107 PageID 58




                                                                                    320 W. Kennedy Blvd.
                                                                                                4th Floor
                                                                                        Tampa, FL 33606
                                             January 16, 2017

    Randy West, Esquire
    The Nurse Lawyer, P.A.
    5922 Main St.
    New Port Richey, FL 34652

    Re:                Disparti, Renee v. State Farm
                       Our File No.:        SF16-4672
                       Claim No.:           59-7J67-123
                       Date of Loss:        October 20, 2015

    Dear Mr. West,

           I would like to take the deposition of your client in this matter, and I have the
    following dates available on my calendar.

                       February 7, 2017
                       February 8, 2017
                       February 14, 2017

           Please select one of these dates or call my assistant, Cynthia Chartak, at 813-221-
    1331 ext. 232 with alternative dates.

                 We certainly appreciate your cooperation and assistance concerning this matter.

                                                         Sincerely,




                                                         Karen A. Barnett

    KAB/cac




KAREN A. BARNETT, ESQUIRE
(813) 221-1331
(813) 223-7881
kbarnett@flatrialcounsel.com
www.FlaTrialCounsel.com
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 28 of 107 PageID 59
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 29 of 107 PageID 60
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 30 of 107 PageID 61
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 31 of 107 PageID 62



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         DEFENDANT, STATE FARM MUTUAL AUTOMOBILE INSURANCE
       COMPANY              PLAINTIFF'S FIRST REQUEST TO PRODUCE

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        RESPONSE: All such policies were provided to counsel for Plaintiff prior to the
        initiation of this action on or about November 9, 2015.             No other policies are
        applicable. If an additional copy is required, please advise, as same will need to be
        requested.


 îò     Ý±°§ ±º ¿²§ ¿²¼ ¿´´ -·¹²»¼ -»´»½¬·±²ñ®»¶»½¬·±² º±®³-ô ²±¬·º·½¿¬·±²- ±º °±´·½§ ½¸¿²¹»-ô
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        Ð´¿·²¬·ºº- º±® ¿ íó§»¿® °»®·±¼ °®·±® ¬± ¬¸» ¼¿¬» ±º ¬¸» ·²½·¼»²¬ ¼»-½®·¾»¼ ·² ¬¸» Ý±³°´¿·²¬ò
        RESPONSE:         Objection, irrelevant to any issues in this case and unduly
        burdensome as to time. Without waiving this objection, the selection/rejections
        forms applicable to the time period in question will be gathered and produced upon
        receipt.


                                             Ð¿¹» 1 ±º 3
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 32 of 107 PageID 63



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       RESPONSE:




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       RESPONSE:




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                               CERTIFICATE OF SERVICE

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                                                 Counsel for Defendant




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                 VERIFIED ANSWERS TO INITIAL INTERROGATORIES

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                                                     KAREN A. BARNETT
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                                                     Counsel for Defendant
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  DEFENDANT, STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
          VERIFIED ANSWERS TO INITIAL INTERROGATORIES

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       ANSWER: Mireya Diaz, Claim Representative for State Farm Mutual Automobile
       Ins. Co. with assistance of counsel.


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          ANSWER: See Declarations of Coverage which is attached hereto and
          incorporated herein by reference.


       ¾ò Ì¸» ´·³·¬- ±º ´·¿¾·´·¬§ º±® ·²¶«®§ ¬± ¿²§ ±²» °»®-±² «²¼»® ¬¸» ¬»®³- ±º »¿½¸ -«½¸
          °±´·½·»-å
          ANSWER: See Declarations of Coverage which is attached hereto and
          incorporated herein by reference.


       ½ò Ì¸» ´·³·¬- ±º ´·¿¾·´·¬§ º±® ·²¶«®§ ¬± ³±®» ¬¸¿² ±²» °»®-±² «²¼»® ¬¸» ¬»®³- ±º »¿½¸ -«½¸
          °±´·½§å
          ANSWER: See Declarations of Coverage which is attached hereto and
          incorporated herein by reference.


       ¼ò É¸»¬¸»® ¿²§ -«½¸ ·²-«®»® ¸¿- ²±¬·º·»¼ §±« ¬¸¿¬ ·¬ ½´¿·³- ¬¸» °±´·½§ °®±ª·-·±²- ¸¿ª»
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          -«½¸ ¿ ½´¿·³å
          ANSWER: No.


       »ò É¸¿¬ ·- ¬¸» ¾¿-·- º±® §±«® ¿²-©»®á
          ANSWER: The Declarations of Coverage speak for themselves.


 íò    Ð´»¿-» ¼»-½®·¾» ·² ¼»¬¿·´ §±«® «²¼»®-¬¿²¼·²¹ ±º ¸±© ¬¸» ·²½·¼»²¬ ¼»-½®·¾»¼ ·² ¬¸»
       Ý±³°´¿·²¬ ±½½«®®»¼ò
       ANSWER: I have no personal first hand knowledge of the accident and accordingly
       cannot give a sworn answer to this interrogatory.

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       ANSWER: Defendant is not aware of any at this time.


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       ¿ò Ð´»¿-» -¬¿¬» ¬¸» ¾¿-·- º±® §±«® ¿²-©»®ò
          ANSWER:
          accident. I have no knowledge of other contributing causes to the incident at this
          time.


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       ANSWER: These defenses speak for themselves and are matters of Florida law.
       Plaintiff received sums in settlement from the tortfeasor, which I understand were
       the full policy limits. Plaintiff also received the full amount of her PIP benefits.


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       ¿¬¬±®²»§- ¬± ¸¿ª» ¿²§ µ²±©´»¼¹» ½±²½»®²·²¹ ¿²§ ±º ¬¸» ·--«»- ·² ¬¸·- ´¿©-«·¬å ¿²¼ -°»½·º§
       ¬¸» -«¾¶»½¬ ³¿¬¬»® ¿¾±«¬ ©¸·½¸ ¬¸» ©·¬²»-- ¸¿- µ²±©´»¼¹»ò
       ANSWER: Other than persons listed on the accident report and as contained in
       medical records provided to State Farm to date, none others are known at this time
       as Defendant has not conducted any discovery at this early phase of the litigation.


 èò    Ø¿ª» §±« ¸»¿®¼ô ±® ¼± §±« µ²±© ¿¾±«¬ ¿²§ -¬¿¬»³»²¬ ±® ®»³¿®µ ³¿¼» ¾§ ±® ±² ¾»¸¿´º ±º
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       ANSWER: None other than histories provided in medical records.




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                           IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                                  IN AND FOR PASCO COUNTY, FLORIDA
                                             CIVIL DIVISION

          Renee Disparti,

                   Plaintiff,
          v.                                           Case No.:    16-CA-003768


          State Farm Mutual Automobile
          Insurance Company,

                   Defendant.



              Plaintiff, Renee Disparti’s Notice of Serving Response to Defendant, State Farm
                    Mutual Automobile Insurance Company’s Requests for Admissions

                  Comes now the Plaintiff, Renee Disparti, by and through the undersigned
         attorney, and hereby files notice of serving responses to requests for admissions
         propounded by the Defendant, State Farm Mutual Automobile Insurance
         Company, dated January 17, 2017, number 1 through 15, as follows:

         1.       At the time of the accident that is the subject of this lawsuit, the vehicle in
                  which you were riding had a fully operational seat belt that was available
                  for your use.

                  Answer:

                  Plaintiff has made reasonable inquiry and the information known or readily
                  available to Plaintiff is insufficient to enable Plaintiff to admit or deny.

         2.       At the time of the accident that is the subject of this lawsuit, the vehicle in
                  which you were riding had a fully operational shoulder harness that was
                  available for your use.

                  Answer:

                  Plaintiff has made reasonable inquiry and the information known or readily
                  available to Plaintiff is insufficient to enable Plaintiff to admit or deny.
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 3.    You were not wearing the available and fully operational seat belt at the
       time of this accident.

       Answer:

       Deny.

 4.    You were not wearing the available and fully operational shoulder harness
       at the time of this accident.

       Answer:

       Deny.

 5.    Your failure to use a seat belt or shoulder harness produced or contributed
       substantially to at least a portion of your claimed damages.

       Answer:

       Deny.

 6.    Your failure to use the seat belt as set forth above was unreasonable
       under the circumstances.

       Answer:

       Deny.

 7.    Your failure to use the shoulder harness as set forth above was
       unreasonable under the circumstances.

       Answer:

       Deny.

 8.    That the claims made herein are subject to the provisions of the “Florida
       Vehicle No-Fault Law.”

       Answer:

       Admit.
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 9.    Please admit that you have not subrogated any portion of your claim for
       hospital, medical or other expenses to any entity, including any insurance
       company or companies under any insurance policy, in connection with
       the injuries allegedly sustained as a result of the incident alleged in the
       Complaint.

       Answer:

       Deny.

 10.   Please admit that there are no liens of any kind (including, but not limited
       to, Workers' Compensation liens, attorney liens, judgment liens, Federal
       liens, including Medicare and Internal Revenue Service) that will attach to
       any monetary proceeds which may be recovered in this case by you as a
       result of the incident alleged herein.

       Answer:

       Deny.

 11.   Please admit that you have not incurred any lost wages as a result of the
       incident alleged herein.

       Answer:

       Deny.

 12.   Please admit that all lost wages incurred by you in connection with the
       injuries you allegedly sustained as a result of the incident alleged herein
       have been paid or are payable by collateral sources.

       Answer:

       Deny.

 13.   Please admit that all medical bills and health care expenses incurred by
       you in connection with the injuries you allegedly sustained as a result of
       the incident alleged herein are payable by collateral sources.

       Answer:

       Deny.
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 14.   Please admit that all medical bills and health care expenses incurred by
       you in connection with the injuries you allegedly sustained as a result of
       the incident alleged herein have been paid by collateral sources.

       Answer:

       Deny.

 15.   Admit that you are seeking in excess of $75,000 in damages in this case.

       Answer:

       Admit.

                   REQUESTS FOR ADMISSION INTERROGATORIES

 1.    If you deny the Requests for Admission #13 or #14, please set forth, with
       particularity, the name of each and every medical or health care
       provider and the total amount of each provider’s medical bill which you
       are claiming has not been paid by collateral sources.

       ANSWER: Please see attached medical bills and lien notice.

 2.    As to the Requests for Admission #13 or #14 as well as the Request for
       Admission Interrogatory #1, please set forth, with particularity, each and
       every medical bill and/or health care expense that has been paid, either
       in whole or in part, by insurance, persons, agencies, corporations, etc.,
       listing the amount of each payment, by whom payment was made and
       any adjustments/writeoffs made to the bill.

       ANSWER: Please see attached medical bills and lien notice.

 3     If you deny the Requests for Admission #11 or 12, please set forth, with
       particularity, the dates and amounts from each employer of the lost
       wages you are claiming, and amounts paid by any source.

       ANSWER: The method amount of lost wages will be determined by the
       appropriate expert.
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 4.    For any request for admission that you deny, please give the entire factual
       basis of that denial; the name, address and substance of any expected
       testimony of any witness who will support that denial; and identify,
       sufficient to formulate the basis for a request for production, any
       document that will support that denial.

       ANSWER:

       As to numbers 11-14, please see attached medical bills. Furthermore, the
       appropriate witnesses and experts will be determined in accordance with
       the Court’s Order Setting Cause for Trial and Pre-Trial.

                               Certificate of Service

         I hereby certify that on February 15, 2017, a true and correct copy of the
 above and foregoing has been electronically filed using the Florida Court’s E-
 Filing Portal System in compliance with Rule 2.516, which will send notification of
 such filing and copies to: Karen A. Barnett, Esquire, Smoak, Shistolini & Barnett,
 PLLC, 320        W.    Kennedy Blvd., 4th Floor, Tampa, FL                  33606,
 courtdocuments@flatrialcounsel.com.




                                       Maryann Furman, RN, Esq.
                                       Florida Bar No.: 0026535
                                       The Nurse Lawyer P.A.
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                                       service@thenurselawyer.com
                                       Attorney for the Plaintiff
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 52 of 107 PageID 83
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                        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                               IN AND FOR PASCO COUNTY, FLORIDA
                                          CIVIL DIVISION

         Renee Disparti,

                Plaintiff,
         v.                                        Case No.:    16-CA-003768


         State Farm Mutual Automobile
         Insurance Company,

                Defendant.

                Plaintiff’s Notice of Serving Answers to Defendant’s Interrogatories
               Comes now the Plaintiff, Renee Disparti, by and through her undersigned
         attorney, and hereby files notice of serving her answers to Interrogatories
         propounded by the Defendant, State Farm Mutual Automobile Insurance
         Company, dated January 17, 2017, numbered 1 through 30.
                                       Certificate of Service

                 I hereby certify that on Wednesday, February 15, 2017, a true and correct
         copy of the above and foregoing has been electronically filed using the Florida
         Court’s E-Filing Portal System in compliance with Rule 2.516, which will send
         notification of such filing and copies to: Karen A. Barnett, Esquire, Smoak,
         Shistolini & Barnett, PLLC, 320 W. Kennedy Blvd., 4th Floor, Tampa, FL 33606,
         courtdocuments@flatrialcounsel.com.




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      PLAINTIFF RENEE DISPARTI’S ANSWERS TO DEFENDANT, STATE FARM MUTUAL
              AUTOMOBILE INSURANCE COMPANY’S INTERROGATORIES


 1.    What is the name and address of the person answering these interrogatories,
       and if applicable, the person’s official position or relationship with the party
       to whom the interrogatories are directed.

       ANSWER:
       Renee Disparti



       In addition, I had the assistance of my counsel in the preparation of this
       document.

 2.    List the names, business addresses, dates of employment, and rates of pay
       regarding all employers, including self-employment, for whom you have
       worked in the past ten (10) years.

       ANSWER:

       To the best of my recollection, the following are my employers. However, if a
       discrepancy exists between this answer and my records, I defer to the
       accuracy of my records:

                 Employer/Address             Rate of Pay      Date of Employment
         Landon Plastic Surgery              $18.26/hour    December 2010
         1813 Wellness Lane                                 present
         Trinity, FL 34655


 3.    List all former names and when you were known by those names. State all
       addresses where you have lived for the past ten (10) years, the dates you
       lived at each address, your Social Security number, your date of birth, and, if
       you are or have even been married, the name of your spouse or spouses. List
       all social networking sites of which you are or have been a member for the
       last four (4) years, i.e., Facebook, MySpace, Twitter, etc.

             a. Provide your email address and password for each of the social
             networking sites listed above.
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       ANSWER:

       Former Names:      Renee Flexer
       Social Security Number: (call Plaintiff’s counsel’s office directly for SS#)
       Date of Birth:
       Spouse:            N/A

       To the best of my recollection, the following are addresses for the past ten
       years (10). However, if a discrepancy exists between this answer and my
       records, I defer to the accuracy of my records:



       a.    Objection: Relevancy, overbroad, vague, harassing, and is intended
             to annoy, embarrass, and oppress the Plaintiff rather than obtain
             information reasonably calculated to lead to the discovery of
             admissible evidence. Additionally, the information requested also
             belongs to individuals that are not parties or injured parties in this
             case. Furthermore, this type of blanket request for unrestricted
             access to Plaintiff’s computer system and electronic correspondence
             has been held to be improperly overbroad and violative of the
             attorney-client privilege, and a litigant’s right to confidentiality and
             financial privacy. Plaintiff also asserts all rights available to her
             pursuant to 18 U.S.C §§2701-2703, the Stored Communications Act.
             Plaintiff further objects as Plaintiff has a right to privacy under the Bill
             of Rights and the Florida Constitution, and Plaintiff has the right to
             exercise her First Amendment rights, as well, which extends to the
             Internet. Finally, the above referenced request is clearly a “fishing
             expedition” on behalf of the Defendant’s attorney. There has been
             no showing of relevance or potential relevance between pictures
             taken prior or subsequent to the subject date of loss and the issues
             involved in this lawsuit. Additionally, the Defendant has made no
             attempt by way of interrogatories or requests for production to
             determine whether there are such documents or pictures in
             existence.

 4.    Do you wear glasses, contact lenses or hearing aids? If so, who prescribed
       them; when where they prescribed; when were your eyes or ears last
       examined; and what is the name and address of the examiner?

       ANSWER:

       No.
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 5.    Have you ever been convicted of a crime, other than any juvenile
       adjudication, which under the law which you were convicted was
       punishable by death or imprisonment in excess of one (1) year, or that
       involved dishonesty or a false statement regardless of the punishment? If so,
       state as to each conviction the specific crime, and the date and place of
       conviction.

       ANSWER:

       No.

 6.    Were you suffering from physical infirmity, disability, or sickness at the time of
       the incident described in the complaint? If so, what was the nature of the
       infirmity, disability, or sickness?

       ANSWER:

       No.

 7.    Did you consume any alcoholic beverages or take any drugs or medications
       within twelve (12) hours before the time of the incident described in the
       complaint? If so, state the type and amount of the alcoholic beverages,
       drugs, or medication which were consumed, and when and where you
       consumed them.

       ANSWER:

       No.

 8.    Describe in detail how the incident described in the complaint happened,
       including all actions taken by you to prevent the incident.

       ANSWER:

       I was at a complete stop at a red light at the intersection of Ridge Rd. and US
       Hwy. 19 in Port Richey when I was rear-ended. There was nothing I could do
       to prevent the incident.
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 9.    Describe in detail each act or omission on the part of any party to this lawsuit
       that you contend constituted negligence that was a contributing legal cause
       of the incident in question.

       ANSWER:

       Please see the allegations set forth in the Complaint. Discovery is in its early
       stages and further acts of negligence on the part of this Defendant or others
       may be discovered as discovery continues.

 10.   Were you charged with any violation of law (including any regulations or
       ordinances) arising out of the incident described in the complaint? If so, what
       was the nature of the charge; what plea, or answer, if any, did you enter to
       the charge; what court or agency heard the charge; was any written report
       prepared by anyone regarding this charge, and if so, what is the name and
       address of the person or entity that prepared the report; do you have a copy
       of the report; and was the testimony at any trial, hearing or other proceeding
       on the charge recorded in any manner, and if so, what was the name and
       address of the person who recorded the testimony?

       ANSWER:

       No.

 11.   Describe each injury for which you are claiming damages in this case,
       specifying the part of the body that was injured, the nature of the injury, and,
       as to any injuries you contend are permanent, and the effects on you that
       you claim are permanent.

       ANSWER:

       The full extent of the injuries that I suffered as a result of this accident are not
       fully known and understood by me and I defer the issue of permanency to
       my treating physicians. Pursuant to the Florida Rules of Civil Procedure 1.340
       (c) please refer to my medical records for a complete description of the
       injuries. In addition, the information requested in this interrogatory can be
       taken from Plaintiff’s medical records that Defendant has a reasonable
       opportunity to obtain through non-party production or through Plaintiff’s
       Response to Defendant’s Request for Production.

       However, to the best of my knowledge I suffered injuries to my neck, back
       and right knee.
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 12.   List each item of expense or damage, other than loss of income or earning
       capacity that you claim to have incurred as a result of the incident described
       in the complaint, giving for each item the date incurred, the name and
       business address of the person or entity to whom each was paid or is owed,
       and the goods or services for which each was incurred.

       ANSWER:

       To the best of my recollection, the following are my medical providers.
       However, if there is a discrepancy between the amounts disclosed in my
       responses, and billing records from providers, then I defer to the updated
       billing records:

                     Medical Provider                           Charges

             Florida Wellness Medical Group                      $685.00


                 Greater Florida Anesthesia                     $2,576.00


                  Katz Orthopedic Institute                     $1,018.00


                  Medical Center of Trinity                    $12,957.25


                   Morton Plant Hospital                       $50,064.22


                 Pasco Imaging Associates                        $400.00


                      Rose Radiology                            $5,100.00


              Spine and Orthopedic Center                      $36,881.90


              Torbert Emergency Physicians                      $1,291.00


                    Trinity Spine Center                        $8,266.92
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                            Total                               $119,240.29

       The information requested in this interrogatory can be obtained from Plaintiff’s
       medical bills which Defendant can obtain through non-party production or
       through Plaintiff’s Response to Defendant’s Request for Production.

 13.   Do you contend that you have lost any income, benefits, or earning capacity
       in the past or future as a result of the incident described in the complaint? If
       so, state the nature of the income, benefits, or earning capacity, and the
       amount and the method that you used in computing the amount.

       ANSWER:

       Yes, however the method of computation and amount will be determined by
       the appropriate expert.

 14.   Has anything been paid or is anything payable from any third party for the
       damages listed in your answers to these interrogatories? If so, state the
       amounts paid or payable the name and business address of the person or
       entity who paid or owes said amounts, and which of those third parties have
       or claim a right of subrogation.

       ANSWER:

       To the best of my knowledge some of my medical bills have been paid by
       my PIP carrier, and possibly by my health insurance carrier; however, the
       exact amounts are not known by me. Please see Plaintiff’s medical bills which
       have been provided in Plaintiff’s Response to Request for Production.

 15.   List the names and business addresses of each physician who has treated or
       examined you, and each medical facility where you have received any
       treatment or examination for the injuries for which you seek damages in this
       case; and state as to each the date of treatment or examination and the
       injury or condition for which you were examined or treated.

       ANSWER:

       See Answer to Interrogatory     2 above.
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 16.   List the names and business addresses of all other physicians, medical
       facilities, or other health care providers by whom or at which you have been
       examined or treated in the past 10 years; and state as to each the dates of
       examination or treatment and the condition or injury for which you were
       examined or treated.

       ANSWER:

       To the best of my recollection, the following are my medical providers for the
       last ten (10) years. However, if a discrepancy between this answer of my
       providers and my medical records, then I defer to the medical records:


                Medical Provider               Dates          Treatment/Condition

         Dr. Yael Ellis                    various          PCP
         34041 US Highway 19 N, Ste E
         Palm Harbor, FL 34684

         Dr. Gary Moskovitz                2003 and         Prior neck and back
         Morton Plant Hospital             2008             surgery
         300 Pinellas Street
         Clearwater, FL 33756


       Pursuant to FRCP 1.340 (c), please refer to medical records for details of
       treatment.

 17.   List the names and addresses of all persons who are believed or known by
       you, your agents, or your attorneys to have knowledge concerning any of
       the issues in this lawsuit; and specifically, the subject matter about which the
       witness has knowledge.

       ANSWER:

       Plaintiff will file a witness list in accordance with the Order Setting Cause for
       Trial and Pre-Trial. Otherwise, the witnesses known to date are the following:

                    The parties and their attorneys;
                    The investigating police officer;
                    Those listed on the crash report; and
                    My treating physicians.

       Discovery is in its early stages and further persons with knowledge may be
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       discovered as discovery continues.

 18.   Have you heard or do you know about any statement or remark made by or
       on behalf of any party to this lawsuit, other than yourself, concerning any issue
       in this lawsuit? If so, state the name and address of each person who made
       the statement or statements, the name and address or each person who
       heard it, and the date, time, place, and substance of each statement.

       ANSWER:

       No.

 19.   State the name and address or every person know to you, your agents, or
       your attorneys, who has knowledge about or possession, custody, or control
       of, any model, plat, map, drawing, motion picture, videotape, or photograph
       pertaining to any fact or issue involved in this controversy; and describe as to
       each, what item such person has, the name and address or the person who
       took or prepared it, and the date it was taken or prepared.

       ANSWER:

       Discovery is still ongoing. However, the following persons have knowledge,
       possession, custody and/or control of drawings concerning the issues in this
       lawsuit:

                    The parties and their attorneys; and
             2.     The investigating police officer (police report diagram).

 20.   Do you intend to call any expert witness at the trial of this case? If so, state as
       to each such witness the name and business address of the witness, the
       witness’s qualifications as an expert, the subject matter upon which the
       witness is expected to testify, and a summary of the grounds for each opinion.

       ANSWER:

       It is undetermined at this time which expert witnesses will be used at the trial
       of this matter. However, those intended for use at trial will be provided in
       compliance with the Court’s Order Setting Cause for Trial and Pre-
       Trial. Pursuant to Frantz v. Golebiewski, 407 So.2d 283 (Fla. 3d DCA 1981),
       Plaintiff's treating physicians are not deemed expert witnesses.

 21.   Have you made an agreement with anyone that would limit that party’s
       liability to anyone for any of the damages sued upon in this case? If so, state
       the terms of the agreement and the parties to it.
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       ANSWER:

       No.

 22.   Please state if you have ever been a party, either plaintiff or defendant, in a
       lawsuit other than the present matter, and, if so, state whether you were
       plaintiff or defendant, the nature of the action, and the date and court in
       which suit was filed.

       ANSWER:

       No.

 23.   Please enumerate and describe any accidents, automobile or other kinds,
       prior or subsequent to the incident in the Complaint, in which you were
       injured, and include in your answer the name, address and telephone
       number of each hospital, physician or other health care provider who
       treated you or examined you for said injuries.

       ANSWER:

       In 2003 I was involved in a motor vehicle accident on Gunn Hwy where I
       was rear-ended. I underwent a lumbar surgery which was performed by Dr.
       Gary Moskovitz at Morton Plant Hospital.

       In 2008 I was involved in a motor vehicle accident near Tarpon Avenue and
       McMullen Booth Road. I underwent a neck surgery which was also
       performed by Dr. Gary Moskovitz.


 24.   State the extent of your education, giving names and addresses of all
       schools, colleges, universities, vocational schools, or other institutions
       attended and the years attended, as well as stating any degrees,
       certifications, or licenses (other than driver's license) which you have
       received.

       ANSWER:

       Gulf High School, 5355 School Rd, New Port Richey, FL 34652
       Largo Medical Assistant Training, Largo, FL (closed down)

 25.   Please state the name, address and policy number of any insurance
       companies who have provided your health or disability benefits for the past
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       ten (10) years. If the insurance was procured through another person's
       name, such as your spouse, please indicate same in your answerò

       ANSWER:

       Florida Blue – Member Number

       State Farm – Policy Number

 26.   If you, your attorney, or agents know of any statement from any person who
       has knowledge concerning the facts involved in this lawsuit, including
       eyewitnesses, experts expected to testify at trial, and any others with
       knowledge of the facts and circumstances surrounding this suit, state the
       name and address of the person who took each statement, the date each
       statement was taken, and the form of the statement (that is, whether oral,
       written, stenographic, etc.). Dade County School Board v. Roberto Soler
       534 So.2d 884 (Fla. 3rd DCA 1988).

       ANSWER:

       I am not aware of any statements made from any person concerning this
       lawsuit.

 27.   With respect to any injuries or symptoms which you claim to have sustained
       as a result of this accident, please state whether you at any other time ever
       had any similar injury to, or similar symptom of the same or similar area of
       your body and if so, itemize each such injury or symptom, the part of your
       body involved, the date and duration of such injury or symptom and the
       names and address of any physicians or hospitals that treated you for it.

       ANSWER:

       Yes, I had a prior neck and back surgeries as described in my answer to
       #23.

 28.   Please identify any MRI's, x-rays or any and all diagnostic tests (including
       electro diagnostic tests) which you have had performed during the past
       ten (10) years, stating the type of test that was performed, the name of the
       institution where this MRI, x-ray or diagnostic test was performed and the
       date (or approximate date or year) when this MRI, x-ray or diagnostic test
       was performedò
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       ANSWER:

       MRIs – Rose Radiology

 29.   List the names and business addresses of all pharmacies, prescription plans,
       medical facilities or other health care facilities by whom or at which you
       have had prescriptions filled for the injuries for which you seek damages in
       this case. Provide the name and address of the prescriber, the dosage,
       number of tablets and frequency taken, and the cost of the medication:

       ANSWER:

       Walgreens, Little Road, New Port Richey, FL

 30.   Please identify the name of your cell phone provider at the time of the
       accident and list the following:

             a. The cell phone number;
             b. The account number; and
             c. The name of your cell phone account holder.

       ANSWER:


       Verizon
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                        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                               IN AND FOR PASCO COUNTY, FLORIDA
                                          CIVIL DIVISION

          Renee Disparti,

                 Plaintiff,
          v.                                        Case No.:    16-CA-003768


          State Farm Mutual Automobile
          Insurance Company,

                Defendant.
          ________________________________/
           Plaintiff’s Notice of Serving Amended Answers to Defendant’s Interrogatories
               Comes now the Plaintiff, Renee Disparti, by and through her undersigned
         attorney, and hereby files notice of serving her amended answers to Interrogatories
         propounded by the Defendant, State Farm Mutual Automobile Insurance
         Company, dated January 17, 2017, numbered 1 through 30.
                                       Certificate of Service

                 I hereby certify that on February 27, 2017, a true and correct copy of the
         above and foregoing has been electronically filed using the Florida Court’s E-
         Filing Portal System in compliance with Rule 2.516, which will send notification of
         such filing and copies to: Karen A. Barnett, Esquire, Smoak, Shistolini & Barnett,
         PLLC, 320        W.    Kennedy Blvd., 4th Floor, Tampa, FL                  33606,
         courtdocuments@flatrialcounsel.com.




                                               Maryann Furman, RN, Esq.
                                               Florida Bar No.: 0026535
                                               The Nurse Lawyer P.A.
                                               201 US 19 Alternate
                                               Palm Harbor, FL 34683
                                               Phone:(727) 807-6182
                                               Fax:(727) 848-6182
                                               Service Email:
                                               service@thenurselawyer.com
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    PLAINTIFF RENEE DISPARTI’S AMENDED ANSWERS TO DEFENDANT, STATE FARM
   MUTUAL AUTOMOBILE INSURANCE COMPANY’S INTERROGATORIES # 13 AND # 14


 1.    What is the name and address of the person answering these
       interrogatories, and if applicable, the person’s official position or relationship
       with the party to whom the interrogatories are directed.

       ANSWER:
       Renee Disparti



       In addition, I had the assistance of my counsel in the preparation of this
       document.

 2.    List the names, business addresses, dates of employment, and rates of pay
       regarding all employers, including self-employment, for whom you have
       worked in the past ten (10) years.

       ANSWER:

       To the best of my recollection, the following are my employers. However, if
       a discrepancy exists between this answer and my records, I defer to the
       accuracy of my records:

               Employer/Address               Rate of Pay      Date of Employment
        Landon Plastic Surgery               $18.26/hour    December 2010
        1813 Wellness Lane                                  present
        Trinity, FL 34655


 3.    List all former names and when you were known by those names. State all
       addresses where you have lived for the past ten (10) years, the dates you
       lived at each address, your Social Security number, your date of birth, and,
       if you are or have even been married, the name of your spouse or spouses.
       List all social networking sites of which you are or have been a member for
       the last four (4) years, i.e., Facebook, MySpace, Twitter, etc.

             a. Provide your email address and password for each of the social
             networking sites listed above.

       ANSWER:

       Former Names:      Renee Flexer
       Social Security Number: (call Plaintiff’s counsel’s office directly for SS#)
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       Date of Birth:
       Spouse:             N/A

       To the best of my recollection, the following are addresses for the past ten
       years (10). However, if a discrepancy exists between this answer and my
       records, I defer to the accuracy of my records:



       a.     Objection:      Relevancy, overbroad, vague, harassing, and is
              intended to annoy, embarrass, and oppress the Plaintiff rather than
              obtain information reasonably calculated to lead to the discovery
              of admissible evidence. Additionally, the information requested
              also belongs to individuals that are not parties or injured parties in
              this case. Furthermore, this type of blanket request for unrestricted
              access      to    Plaintiff’s computer        system and    electronic
              correspondence has been held to be improperly overbroad and
              violative of the attorney-client privilege, and a litigant’s right to
              confidentiality and financial privacy. Plaintiff also asserts all rights
              available to her pursuant to 18 U.S.C §§2701-2703, the Stored
              Communications Act. Plaintiff further objects as Plaintiff has a right
              to privacy under the Bill of Rights and the Florida Constitution, and
              Plaintiff has the right to exercise her First Amendment rights, as well,
              which extends to the Internet. Finally, the above referenced request
              is clearly a “fishing expedition” on behalf of the Defendant’s
              attorney. There has been no showing of relevance or potential
              relevance between pictures taken prior or subsequent to the
              subject date of loss and the issues involved in this lawsuit.
              Additionally, the Defendant has made no attempt by way of
              interrogatories or requests for production to determine whether
              there are such documents or pictures in existence.

 4.    Do you wear glasses, contact lenses or hearing aids? If so, who prescribed
       them; when where they prescribed; when were your eyes or ears last
       examined; and what is the name and address of the examiner?

       ANSWER:

       No.

 5.    Have you ever been convicted of a crime, other than any juvenile
       adjudication, which under the law which you were convicted was
       punishable by death or imprisonment in excess of one (1) year, or that
       involved dishonesty or a false statement regardless of the punishment? If
       so, state as to each conviction the specific crime, and the date and place
       of conviction.
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       ANSWER:

       No.

 6.    Were you suffering from physical infirmity, disability, or sickness at the time of
       the incident described in the complaint? If so, what was the nature of the
       infirmity, disability, or sickness?

       ANSWER:

       No.

 7.    Did you consume any alcoholic beverages or take any drugs or
       medications within twelve (12) hours before the time of the incident
       described in the complaint? If so, state the type and amount of the
       alcoholic beverages, drugs, or medication which were consumed, and
       when and where you consumed them.

       ANSWER:

       No.

 8.    Describe in detail how the incident described in the complaint happened,
       including all actions taken by you to prevent the incident.

       ANSWER:

       I was at a complete stop at a red light at the intersection of Ridge Rd. and
       US Hwy. 19 in Port Richey when I was rear-ended. There was nothing I could
       do to prevent the incident.

 9.    Describe in detail each act or omission on the part of any party to this
       lawsuit that you contend constituted negligence that was a contributing
       legal cause of the incident in question.

       ANSWER:

       Please see the allegations set forth in the Complaint. Discovery is in its early
       stages and further acts of negligence on the part of this Defendant or
       others may be discovered as discovery continues.

 10.   Were you charged with any violation of law (including any regulations or
       ordinances) arising out of the incident described in the complaint? If so,
       what was the nature of the charge; what plea, or answer, if any, did you
       enter to the charge; what court or agency heard the charge; was any
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       written report prepared by anyone regarding this charge, and if so, what is
       the name and address of the person or entity that prepared the report; do
       you have a copy of the report; and was the testimony at any trial, hearing
       or other proceeding on the charge recorded in any manner, and if so,
       what was the name and address of the person who recorded the
       testimony?

       ANSWER:

       No.

 11.   Describe each injury for which you are claiming damages in this case,
       specifying the part of the body that was injured, the nature of the injury,
       and, as to any injuries you contend are permanent, and the effects on you
       that you claim are permanent.

       ANSWER:

       The full extent of the injuries that I suffered as a result of this accident are not
       fully known and understood by me and I defer the issue of permanency to
       my treating physicians. Pursuant to the Florida Rules of Civil Procedure
       1.340 (c) please refer to my medical records for a complete description of
       the injuries. In addition, the information requested in this interrogatory can
       be taken from Plaintiff’s medical records that Defendant has a reasonable
       opportunity to obtain through non-party production or through Plaintiff’s
       Response to Defendant’s Request for Production.

       However, to the best of my knowledge I suffered injuries to my neck, back
       and right knee.

 12.   List each item of expense or damage, other than loss of income or earning
       capacity that you claim to have incurred as a result of the incident
       described in the complaint, giving for each item the date incurred, the
       name and business address of the person or entity to whom each was paid
       or is owed, and the goods or services for which each was incurred.

       ANSWER:

       To the best of my recollection, the following are my medical providers.
       However, if there is a discrepancy between the amounts disclosed in my
       responses, and billing records from providers, then I defer to the updated
       billing records:

                     Medical Provider                              Charges
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            Florida Wellness Medical Group                   $685.00


               Greater Florida Anesthesia                    $2,576.00


                Katz Orthopedic Institute                    $1,018.00


                Medical Center of Trinity                   $12,957.25


                 Morton Plant Hospital                      $50,064.22


               Pasco Imaging Associates                      $400.00


                    Rose Radiology                           $5,100.00


             Spine and Orthopedic Center                    $36,881.90


             Torbert Emergency Physicians                    $1,291.00


                  Trinity Spine Center                       $8,266.92


                          Total                            $119,240.29

       The information requested in this interrogatory can be obtained from
       Plaintiff’s medical bills which Defendant can obtain through non-party
       production or through Plaintiff’s Response to Defendant’s Request for
       Production.

 13.   Do you contend that you have lost any income, benefits, or earning
       capacity in the past or future as a result of the incident described in the
       complaint? If so, state the nature of the income, benefits, or earning
       capacity, and the amount and the method that you used in computing the
       amount.
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       ANSWER:

       Thus far, I missed a total of 4 days as a result of the surgery I underwent in
       this case. I am paid $18.27 per hour and I missed a total of 4 days where I
       would have worked 8 hours per day. To the best of my knowledge that
       amount totals $584.64. At this time I am unsure whether or not my ability to
       work full time, in the same or similar capacity to what I am capable of right
       now, will be affected in the future, and I would defer those opinions to the
       appropriate experts.

 14.   Has anything been paid or is anything payable from any third party for the
       damages listed in your answers to these interrogatories? If so, state the
       amounts paid or payable the name and business address of the person or
       entity who paid or owes said amounts, and which of those third parties
       have or claim a right of subrogation.

       ANSWER:

       To the best of my knowledge, as of February 21, 2017, Florida Blue has paid
       $43,351.50 towards my medical bills and they have asserted a lien for that
       amount. Additionally, my PIP carrier has extended the full $10,000.00 policy
       limits towards my medical bills.
 15.   List the names and business addresses of each physician who has treated
       or examined you, and each medical facility where you have received any
       treatment or examination for the injuries for which you seek damages in this
       case; and state as to each the date of treatment or examination and the
       injury or condition for which you were examined or treated.

       ANSWER:

       See Answer to Interrogatory #12 above.

 16.   List the names and business addresses of all other physicians, medical
       facilities, or other health care providers by whom or at which you have
       been examined or treated in the past 10 years; and state as to each the
       dates of examination or treatment and the condition or injury for which you
       were examined or treated.

       ANSWER:

       To the best of my recollection, the following are my medical providers for
       the last ten (10) years. However, if a discrepancy between this answer of my
       providers and my medical records, then I defer to the medical records:
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              Medical Provider                Dates          Treatment/Condition

        Dr. Yael Ellis                   various           PCP
        34041 US Highway 19 N, Ste E
        Palm Harbor, FL 34684

        Dr. Gary Moskovitz               2003 and          Prior neck and back
        Morton Plant Hospital                              surgery
        300 Pinellas Street
        Clearwater, FL 33756


       Pursuant to FRCP 1.340 (c), please refer to medical records for details of
       treatment.

 17.   List the names and addresses of all persons who are believed or known by
       you, your agents, or your attorneys to have knowledge concerning any of
       the issues in this lawsuit; and specifically, the subject matter about which the
       witness has knowledge.

       ANSWER:

       Plaintiff will file a witness list in accordance with the Order Setting Cause for
       Trial and Pre Trial. Otherwise, the witnesses known to date are the
       following:

                    The parties and their attorneys;
                    The investigating police officer;
                    Those listed on the crash report; and
                    My treating physicians.

       Discovery is in its early stages and further persons with knowledge may be
       discovered as discovery continues.

 18.   Have you heard or do you know about any statement or remark made by
       or on behalf of any party to this lawsuit, other than yourself, concerning any
       issue in this lawsuit? If so, state the name and address of each person who
       made the statement or statements, the name and address or each person
       who heard it, and the date, time, place, and substance of each statement.

       ANSWER:

       No.

 19.   State the name and address or every person know to you, your agents, or
       your attorneys, who has knowledge about or possession, custody, or control
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       of, any model, plat, map, drawing, motion picture, videotape, or
       photograph pertaining to any fact or issue involved in this controversy; and
       describe as to each, what item such person has, the name and address or
       the person who took or prepared it, and the date it was taken or prepared.

       ANSWER:

       Discovery is still ongoing. However, the following persons have knowledge,
       possession, custody and/or control of drawings concerning the issues in this
       lawsuit:

                    The parties and their attorneys; and
                    The investigating police officer (police report diagram).

 20.   Do you intend to call any expert witness at the trial of this case? If so, state
       as to each such witness the name and business address of the witness, the
       witness’s qualifications as an expert, the subject matter upon which the
       witness is expected to testify, and a summary of the grounds for each
       opinion.

       ANSWER:

       It is undetermined at this time which expert witnesses will be used at the
       trial of this matter. However, those intended for use at trial will be provided
       in compliance with the Court’s Order Setting Cause for Trial and Pre Trial.
       Pursuant to Frantz v. Golebiewski, 407 So.2d 283 (Fla. 3d DCA 1981),
       Plaintiff's treating physicians are not deemed expert witnesses.

 21.   Have you made an agreement with anyone that would limit that party’s
       liability to anyone for any of the damages sued upon in this case? If so,
       state the terms of the agreement and the parties to it.

       ANSWER:

       No.

 22.   Please state if you have ever been a party, either plaintiff or defendant, in a
       lawsuit other than the present matter, and, if so, state whether you were
       plaintiff or defendant, the nature of the action, and the date and court in
       which suit was filed.

       ANSWER:

       No.
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 23.   Please enumerate and describe any accidents, automobile or other kinds,
       prior or subsequent to the incident in the Complaint, in which you were
       injured, and include in your answer the name, address and telephone
       number of each hospital, physician or other health care provider who
       treated you or examined you for said injuries.

       ANSWER:

       In 2003 I was involved in a motor vehicle accident on Gunn Hwy where I
       was rear-ended. I underwent a lumbar surgery which was performed by
       Dr. Gary Moskovitz at Morton Plant Hospital.

       In 2008 I was involved in a motor vehicle accident near Tarpon Avenue
       and McMullen Booth Road. I underwent a neck surgery which was also
       performed by Dr. Gary Moskovitz.

 24.   State the extent of your education, giving names and addresses of all
       schools, colleges, universities, vocational schools, or other institutions
       attended and the years attended, as well as stating any degrees,
       certifications, or licenses (other than driver's license) which you have
       received.

       ANSWER:

       Gulf High School, 5355 School Rd, New Port Richey, FL 34652
       Largo Medical Assistant Training, Largo, FL (closed down)

 25.   Please state the name, address and policy number of any insurance
       companies who have provided your health or disability benefits for the
       past ten (10) years. If the insurance was procured through another
       person's name, such as your spouse, please indicate same in your answerò

       ANSWER:

       Florida Blue – Member Number

       State Farm – Policy Number

 26.   If you, your attorney, or agents know of any statement from any person
       who has knowledge concerning the facts involved in this lawsuit,
       including eyewitnesses, experts expected to testify at trial, and any others
       with knowledge of the facts and circumstances surrounding this suit, state
       the name and address of the person who took each statement, the date
       each statement was taken, and the form of the statement (that is,
       whether oral, written, stenographic, etc.). Dade County School Board v.
       Roberto Soler 534 So.2d 884 (Fla. 3rd DCA 1988).
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       ANSWER:

       I am not aware of any statements made from any person concerning this
       lawsuit.
 27.   With respect to any injuries or symptoms which you claim to have
       sustained as a result of this accident, please state whether you at any
       other time ever had any similar injury to, or similar symptom of the same or
       similar area of your body and if so, itemize each such injury or symptom,
       the part of your body involved, the date and duration of such injury or
       symptom and the names and address of any physicians or hospitals that
       treated you for it.

       ANSWER:

       Yes, I had a prior neck and back surgeries as described in my answer to
       #23.

 28.   Please identify any MRI's, x-rays or any and all diagnostic tests (including
       electro diagnostic tests) which you have had performed during the past
       ten (10) years, stating the type of test that was performed, the name of
       the institution where this MRI, x-ray or diagnostic test was performed and
       the date (or approximate date or year) when this MRI, x-ray or diagnostic
       test was performedò

       ANSWER:

       MRIs – Rose Radiology

 29.   List the names and business addresses of all pharmacies, prescription
       plans, medical facilities or other health care facilities by whom or at which
       you have had prescriptions filled for the injuries for which you seek
       damages in this case. Provide the name and address of the prescriber,
       the dosage, number of tablets and frequency taken, and the cost of the
       medication:

       ANSWER:

       Walgreens, Little Road, New Port Richey, FL

 30.   Please identify the name of your cell phone provider at the time of the
       accident and list the following:

             a. The cell phone number;
             b. The account number; and
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             c. The name of your cell phone account holder.

       ANSWER:


       Verizon
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                        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                               IN AND FOR PASCO COUNTY, FLORIDA
                                          CIVIL DIVISION

          Renee Disparti,

                Plaintiff,
                                                    Case No.:    16-CA-003768
          v.


          State Farm Mutual Automobile
          Insurance Company,

                Defendant.
          ________________________________/

         Plaintiff, Renee Disparti’s, Response to Defendant, State Farm Mutual Automobile
                            Insurance Company’s, Request for Production

               Plaintiff, Renee Disparti, by and through the undersigned attorney, hereby

         files her response to Defendant’s, State Farm Mutual Automobile Insurance

         Company, Request to Produce dated January 17, 2017, as follows:


         1.    Medical bills, including, but not limited to, doctors, hospitals, and
               prescriptions.

               RESPONSE:

               All in Plaintiff’s present possession attached.

         2.    Hospital records and written reports of all physicians, chiropractors and
               healthcare providers who have provided treatment to Plaintiff, in the past
               10 years, that are in the possession of Plaintiff or Plaintiff’s attorney, and
               sign the medical authorization, original of which is attached hereto,
               requesting medical/ psychological/ psychiatric/ social/ history/drug/
               alcohol treatment/ medical/ education information of Plaintiff.

               RESPONSE:
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       No prior records in Plaintiff’s present possession other than prior MRI reports
       which are attached. As to authorizations, Plaintiff objects to signing a
       blank HIPPA authorization. However, defense may send specific
       authorizations to Plaintiff for signature, or may request prior records by
       subpoena through non party production.

 3.    Any and all x-rays, MRI’s, x-rays, CT scans or other diagnostic (including
       electrodiagnostic) studies Plaintiff has undergone in the past 10 years, as
       well as any reports interpreting said studies and tests that are in the
       Plaintiff’s care, custody or control.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 4.    Income tax returns of Plaintiff for the five years preceding the incident and
       all returns since, including any and all attachments including but not
       limited to W-2 Forms.

       RESPONSE:

       None in Plaintiff’s possession. However, Plaintiff will sign the proper
       authorization to release her tax returns.

 5.    Hospital records concerning any and all hospitalizations which Plaintiff
       claims resulted from the subject accident, which are in Plaintiff's
       possession or control.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 6.    Medical reports, opinions, or other written memoranda from doctors,
       nurses, other medical practitioners, or expert witnesses containing
       information concerning the injuries and/or damage allegedly sustained
       by Plaintiff as a result of the subject accident and which are in Plaintiff's
       possession or control.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 7.    Any and all letters of protection provided to any health care providers.
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       RESPONSE:

       All in Plaintiff’s present possession attached.

 8.    Any and all notice of liens established by any health care providers.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 9.    Any and all release of liens or evidence of reduction, write off or write
       down of any medical bill by any health care provider or insurance carrier.

       RESPONSE:

       None in Plaintiff’s present possession.

 10.   Any and all policies, identification cards, or other evidence of health
       insurance which has provided coverage or paid benefits to Plaintiff from
       the date of the accident at issue to present.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 11.   Any and all settlement agreements and/or releases entered into with any
       person or entity for damages.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 12.   Any photographs of the vehicles involved in the accident, any
       photographs of the scene of the accident, and any photographs of the
       Plaintiff in his or her injured condition, including photographs illustrating
       any personal injury(ies) alleged by Plaintiff.

       RESPONSE:

       None in Plaintiff’s present possession.

 13.   All repair bills and/or repair estimates.

       RESPONSE:
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       All in Plaintiff’s present possession attached.

 14.   Photographs of Plaintiff illustrating any personal injury or other damages
       alleged by Plaintiff.

       RESPONSE:

       None in Plaintiff’s present possession.

 15.   Any and all written or recorded statements taken from any of the
       defendants, or any of their employees or agents, concerning any issue in
       this cause.

       RESPONSE:

       None in Plaintiff’s present possession.

 16.   A copy of any and all written or recorded statements or, in the alternative,
       if objected to, the name and address of any person from whom you or
       your attorneys or their representative have obtained a written or recorded
       statement and the date taken.

       RESPONSE:

       None in Plaintiff’s present possession.

 17.   Any and all photographs, graphs, charts, and other documentary
       evidence of the scene, parties or vehicles involved in or pertaining to the
       subject accident, or occurrence or the issues in this cause.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 18.   Any and all insurance policies providing benefits or coverage to the
       Plaintiff for any claimed injury or damage from the subject accident or
       occurrence.

       RESPONSE:

       All in Plaintiff’s present possession attached.

 19.   A copy of Plaintiff's driver's license.
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       RESPONSE:

       Will be provided upon receipt.

 20.   A copy of Plaintiff's passport.

       RESPONSE:

       Will be provided at Plaintiff’s deposition.

 21.   A copy of Plaintiff's marriage license.

       RESPONSE:

       Will be provided at Plaintiff’s deposition.

 22.   A copy of Plaintiff's Social Security Card.

       RESPONSE:

       Will be provided at Plaintiff’s deposition.

 23.   Copies of any or all pleadings, discovery, or other materials compiled
       pertaining to any lawsuit or claim, worker’s compensation claim, or
       longshoremen's claim involving Plaintiff.

       RESPONSE:

       None in Plaintiff’s present possession.

 24.   All letters, correspondence or memoranda exchanged or transmitted by
       Plaintiff or on Plaintiff's behalf by his agents or attorney(s) to any third
       parties, to especially include Plaintiff's physicians and/or experts.

       RESPONSE:

       Objection, overbroad, unduly burdensome, vague and harassing.

 25.   A signed authorization, original attached with pleading copy to address,
       requesting income tax returns.

       RESPONSE:
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        Plaintiff will sign the proper authorization when provided by defendant.

  26.   All written statements, including opinions, memoranda and reports of
        Plaintiff and Plaintiff's agents and employees which Plaintiff expects to
        introduce into evidence at the trial of this case.

        RESPONSE:

        Plaintiff has not yet determined which documents will be used at trial.

  27.   All written statements, including opinions, memoranda and reports, of any
        and all witnesses and especially experts Plaintiff expects to call at the trial
        of this cause.

        RESPONSE:

        Plaintiff has not yet determined which experts and/or witnesses will be
        used at trial.

  28.   All other written documents, transcripts, photographs, recordings and any
        other similar documents as defined and allowed by the Florida Rules of
        Civil Procedure which have not been specifically requested but which is
        relevant to the subject matter of this suit and not privileged from
        disclosure.

        RESPONSE:

        All in Plaintiff’s present possession attached.

  29.   Police incident accident report, if applicable, relative to the subject
        occurrence.

        RESPONSE:

        Police report attached.

  30.   All expert witnesses' reports, including doctors' reports, furnished to Plaintiff
        or the attorney for Plaintiff in anticipation of litigation or in the furtherance
        of litigation and trial. Mims v. Casademont, 464 So.2d 643 (Fla. 3d DCA
        1985).

        RESPONSE:

        Plaintiff has not yet determined which experts will testify at trial.
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  31.   Event Data Recorder (Black Box) on the motor vehicle operated and/or
        owned, leased or used by Plaintiff.

        RESPONSE:

        If a black box exists, Plaintiff will make the vehicle available for inspection
        at a time which is mutually agreeable for all parties.

  32.   Power Train Control Module on the motor vehicle operated and/or
        owned, leased or used by Plaintiff.

        RESPONSE:

        Plaintiff will make the vehicle available for inspection at a time which is
        mutually agreeable for all parties.

  33.   Any document (including online material) that you received or accessed
        in order to answer the Social Media Interrogatory.

        RESPONSE:

        None.

  34.   Any and all pleadings, response to interrogatories, responses to requests
        for production, responses to requests for admissions, notices of deposition,
        or any other document filed with the court or served on parties in this
        lawsuit.

        RESPONSE:

        Attached.

  35.   Any document reflecting payment by any source for any and all
        damages claimed in this case, including, but not limited to, all payments
        made to you, or on your behalf, by or pursuant to:

                a. The United States Social Security Act.

                b. The Federal Income Disability Act.

                c. Any state income disability act.
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              d. Any local income disability act.

              e. Any other public programs providing medical expenses, disability
              payment, or other similar benefits.

              f. Any health, sickness, or income disability insurance.

              g. Any other similar insurance benefits, except life insurance benefits
              available to you, whether purchased by you or provided by others.

              h. Any contract or agreement of any group, organization,
              partnership, or corporation to provide, pay for, or reimburse the cost
              of hospital, medical, dental, or other health care services incurred
              by you or on your behalf.

              i. Any contractual or voluntary wage continuation plan provided by
              employers or other system intended to provide wages during a
              period of disability.

              j. Workers’ Compensation insurance.

        RESPONSE:

        None other than PIP benefits shown in the attached medical bills.

  36.   All records that document or evidence your wage loss claim.

        RESPONSE:

        None in Plaintiff’s present possession.

  37.   All releases, settlement agreements, covenants not to sue and/or
        judgments and all other documents, such as contracts, correspondence,
        memos, and the like, pertaining to the settlements reached between
        Plaintiff and any other person, firm, or corporation arising out of the
        incident referred to in the Complaint.

        RESPONSE:

        Attached.

  38.   All photographs, slides, videotapes, movies, drawings, and diagrams,
        including cell phone pictures, videos, and recordings of the scene of the
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        motor vehicle accident described in the Complaint. Please document in
        a privilege log, any items that you claim are work product protected.

        RESPONSE:

        None in Plaintiff’s present possession.

                                 Certificate of Service

          I hereby certify that on February 15, 2017, a true and correct copy of the
  above and foregoing has been electronically filed using the Florida Court’s E-
  Filing Portal System in compliance with Rule 2.516, which will send notification of
  such filing and copies to: Karen A. Barnett, Esquire, Smoak, Shistolini & Barnett,
  PLLC, 320        W.    Kennedy Blvd., 4th Floor, Tampa, FL                  33606,
  courtdocuments@flatrialcounsel.com.




                                                  Maryann Furman, RN, Esq.
                                                  Florida Bar No.: 0026535
                                                  The Nurse Lawyer P.A.
                                                  201 US 19 Alternate
                                                  Palm Harbor, FL 34683
                                                  Phone:(727) 807-6182
                                                  Fax:(727) 848-6182
                                                  service@thenurselawyer.com
                                                  Attorney for the Plaintiff
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                        IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                               IN AND FOR PASCO COUNTY, FLORIDA
                                          CIVIL DIVISION

          Renee Disparti,

                Plaintiff,
                                                       Case No.:   16-CA-003768
          v.                                           Division:


          State Farm Mutual Automobile
          Insurance Company,

                Defendant.
          ________________________________/
                      Plaintiff, Renee Disparti’s Request for Copies to Defendant,
                         State Farm Mutual Automobile Insurance Company

               Plaintiff, Renee Disparti, by and through her undersigned attorney, pursuant

         to Rule 1.351(d) of the Florida Rules of Civil Procedure, requests that Defendant,

         State Farm Mutual Automobile Insurance Company, provide a legible electronic

         copy of each item furnished to Defendant, pursuant to Notice of Production from

         Non-Party from the commencement of litigation through the present. All

         documents must be provided in electronic format, and any copying, scanning or
         processing charges exceeding one hundred dollars ($100.00) must be pre-

         approved by Plaintiff’s counsel in writing.

                                         Certificate of Service

               I hereby certify that on Wednesday, February 16, 2017, a true and correct

         copy of the above and foregoing has been electronically filed using the Florida

         Court’s E-Filing Portal System in compliance with Rule 2.516, which will send

         notification of such filing and copies to: Karen A. Barnett, Esquire, Smoak,

         Shistolini & Barnett, PLLC, 320 W. Kennedy Blvd., 4th Floor, Tampa, FL 33606,
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  courtdocuments@flatrialcounsel.com.




                                    Maryann Furman
                                    Florida Bar No.: 0026535
                                    The Nurse Lawyer P.A.
                                    201 US 19 Alternate
                                    Palm Harbor, FL 34683
                                    Phone:(727) 807-6182
                                    Fax:(727) 848-6182
                                    Service Email: service@thenurselawyer.com
                                    Attorney for Plaintiff
Case 8:17-cv-00557-RAL-JSS Document 1-4 Filed 03/07/17 Page 106 of 107 PageID 137



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            DEFENDANT'S NOTICE OF TAKING VIDEOTAPED DEPOSITION
                        OF PLAINTIFF, RENEE DISPARTI

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